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   19
                                   UNITED STATES DISTRICT COURT

   20
                               CENTRAL DISTRICT OF CALIFORNIA

   21                                            Case No.14-2171-JGB-SP
                                                 [Hon. Jesus G. Bernal]
   22   DAN MCKIBBEN, et al.,
                                                  UNOPPOSED EX PARTE
   23                   Plaintiffs,
        vs.                                       APPLICATION FOR APPROVAL
   24                                             OF ADDITIONAL LATE CLAIM
   25   JOHN MCMAHON, et al.,                     AND REQUEST FOR REVISIONS
                                                  TO THE FINAL APPROVAL
   26                   Defendants                ORDER, OR ALTERNATIVELY,
   27                                             ISSUANCE OF THE PROPOSED
                                                  ORDER
   28
                                                 [Filed with [proposed] order].
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    1
              Mr. Damian Rohan Pate Liggins is a verified class member who, due to no
    2
        fault of his own, has never received a claim form. He has learned of the class
    3
        settlement and has requested a claim form, which has now been sent to him. It is
    4
    5
        requested that either the Court add his name to the Final Approval Order and deem

    6   Damian Rohan Pate Liggins to have filed a timely claim, or sign this Order and

    7   deem Mr. Liggins to have timely filed a claim. Nathan Oyster, counsel for
    8   Defendants’, has no objection to this ex parte application.
    9         This ex parte application is based on the declaration of David S. McLane,
   10   and the proposed order filed concurrently herewith.
   11   Dated: February 14, 2019               Respectfully submitted,
   12                                          Kaye, McLane, Bednarski & Litt, LLP
   13
                                               The ACLU of Southern California

   14
   15                                          By:_/s/ David S. McLane_______
                                                   David S. McLane
   16                                              Attorney for Plaintiffs
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    1                       DECLARATION OF DAVID S. McLANE
    2
             I, David S. McLane, hereby state and declare as follows:
    3
             1. I am an attorney for the Plaintiffs in the above-referenced matter, and I
    4
                submit this declaration requesting that Damian Rohan Pate Liggins late
    5
                claim be approved, and either the Final Order be amended to include his
    6
                claim, or the Court executes the proposed order filed concurrently
    7
                herewith.
    8
    9
             2. Damien Rohan Pate Liggins was on the class list administered by JND

   10           Class Action Administration. The claim form was sent by JND to Mr.

   11           Liggins, but it was returned to JND as undeliverable.
   12        3. Mr. Liggins called me on February 13, 2019, and indicated that he
   13           wanted to be part of the class action, and never received a claim form.
   14           He said he called on January 19, 2019, when he found out about the
   15           settlement, and indicated that he wanted to file a claim. I told him I
   16           would see what I could do, and I contacted JND, and they indicated that
   17           he was part of the class list, and had been sent a claims form, but it was
   18           returned undeliverable. Through no fault of Mr. Liggins, he was not able
   19           to timely file a claim.
   20        4. On February 14, 2019, we emailed Mr. Liggins a claim form, and
   21           indicated that he should fill it out asap and send back to us.
   22
             5. Mr. Liggins is in the same position as the other late claimants who this
   23
                Court approved, and we request that his late claim he is submitting be
   24
                approved. I am filing this ex parte now before the Court issues its final
   25
                order.
   26
             6. I would request that the court either approve his late claim as part of the
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                final order, or sign the order filed concurrently herewith.
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    1        7. I spoke to Nate Oyster, counsel for the defendants, on February 14, 2019,
    2           and he has no opposition to this application.
    3
    4        I declare under penalty of perjury the foregoing is true and correct to the best
    5        of my knowledge.
    6
    7
        Dated: February 14, 2019              By__/S/DAVID S. McLANE___________
    8                                            DAVID S. McLANE
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